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                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                           MINUTES

    Case Number                Date                 Time                Judge

  1:17-cv-01136-PLM         9/26/2018       1:46 - 2:33 PM          Phillip J. Green

                              CASE CAPTION

                       Oard v. Muskegon, County of et al

                              APPEARANCES
    Attorney:                                       Representing:
Erin Lynn Dornbos                       Plaintiff


Laura Kathleen Bailey Brown             Defendants

                              PROCEEDINGS

NATURE OF HEARING:

Motion Hearing held re ECF No. 22; order to issue.




                        Proceedings Digitally Recorded
                          Deputy Clerk: A. Doezema
